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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )       Criminal No. 18-10364-DPW
              v.                              )
                                              )
JASIEL F. CORREIA, II,                        )
                                              )
                      Defendant               )

             JOINT MEMORANDUM PURSUANT TO LOCAL RULE 116.5(a)

       The United States of America, by and through the undersigned Assistant United States

Attorneys, and the defendant, through undersigned counsel, hereby file this Joint Memorandum

Pursuant to Local Rule 116.5(a) as follows:

       1. The government produced automatic discovery on November 7, 2018. The automatic
          discovery produced by the government was approximately 18,256 pages.

       2. The government is aware of its ongoing obligations to produce additional discovery.
          Other than when the time comes to produce Jencks Act material, the government does
          not currently expect to make additional large discovery productions.

       3. Defendant is not yet in a position to know whether he will be making additional
          discovery requests.

       4. The parties jointly request that a protective order be entered in this case with respect to
          any non-public materials produced in discovery. A draft protective order is attached
          hereto as Exhibit A.

       5. Defendant is not yet in a position to know whether he will file any Fed. R. Crim. P.
          12(b) motions, but hopes to be able to address that issue at the interim status conference
          that the parties are jointly requesting below.

       6. To the extent there are experts in this case, the parties propose that expert disclosures
          be made approximately 45-60 days before the trial date set by the District Court.

       7. The Court has already excluded time from arraignment, October 11, 2018, through and
          including the date of the originally scheduled initial status conference, December 6,
          2018. See ECF Dkt. No. 13. The parties jointly request that the Court, pursuant to the
          Speedy Trial Act, enter an order of excludable delay from December 7, 2018, until the
          date on which the court sets the interim status conference, to allow defendant time to
          review the voluminous discovery.
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       8. Pursuant to the Court’s December 6, 2018 Order, ECF Dkt. No. 23, the parties do not
          believe an initial status conference is necessary at this time, and thus jointly request
          that the hearing scheduled for December 18, 2018 be cancelled. Subject to the Court’s
          availability, the parties jointly request an interim status conference in approximately 60
          days, during the week of February 11, 2018.

                                                     Respectfully submitted,

       JASIEL F. CORREIA, II                         ANDREW E. LELLING
       Defendant                                     United States Attorney

By:    /s/ Kevin J. Reddington, Esq.          By:    /s/ Zachary R. Hafer
       Kevin J. Reddington                           Zachary R. Hafer
       Counsel for Defendant                         David G. Tobin
                                                     Assistant U.S. Attorneys



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified in the Notice of Electronic Filing.


                                                             /s/ Zachary R. Hafer
                                                             Zachary R. Hafer
                                                             Assistant U.S. Attorney

Date: December 11, 2018




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